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                                                                        JUN 07 2019       ,~
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                                                                    ~a:
                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA',
                        ATLANTA DIVISION
UNITED STATES OF AMERICA,               ) Case No.- - - ' - - - - - - -
and the STATES OF ALASKA,               )
CALIFORNIA, COLORADO,                   ) (Judge _ _ _ _ _ _ _ _ _)
CONNECTICUT, DELAWARE,                  )
FLORIDA, GEORGIA, HAWAII,               )
ILLINOIS, INDIANA, lOW A,               ) COMPLAINT AND JURY
LOUISIANA, MARYLAND,                    ) DEMAND
MASSACHUSETTS, MICHIGAN,               )
MINNESOTA, MONTANA,                     )
NEVADA, NEW HAMPSHIRE,                  ) TO BE FILED UNDER SEAL
NEW JERSEY, NEW MEXICO,                 ) PURSUANT TO 31 U.S.C.
NEW YORK, NORTH CAROLINA,               ) § 3730(b)(2)
OKLAHOMA, RHODE ISLAND,                 )
TENNESSEE, TEXAS, VERMONT,              )
VIRGINIA, and WASHINGTON,               )
and the DISTRICT OF COLUMBIA            )
ex r,el. TERENCE SULLIVAN,             )
                                       )
            Plaintiffs/Relator,        )
                                       )
      -v-                              )
                                       )
MEDITECH, LLC, BIOCONFIRM              )
LABORATORIES, LLC, and JOHN            )
DOE ENTITIES 1-10,                     )
                                       )
            Defendants.                )

     Relator Terence Sullivan G'Relator" or "Mr. Sullivan"), by and i~rough the

undersigned counsel, and on behalf of the United States of America ("United

States") and the States of Alaska, California, Colorado, Connecticut, Delaware,
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 Florida,     Georgia,· Hawaii,      Illinois,   Indiana,   Iowa,   Louisiana,· Maryland,

 Massachusetts, . Michigan, Minnesota, Montana, Nevada, New Hampshire, New

 Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island,

 Tennessee, Texas, Vermont, Virginia, Washington, and the District of Columbia

 (collectively, the "States';), hereby alleges as follows:

 I.    INTRODUCTION

        1.          This is a qui tam action by Mr. Sullivan against Meditech LLC

 (44Meditech"), Bioconfirm Laboratories, LLC ("Bioconfirm Labs") and John Doe

 Entities    1~10   ("John Doe Entities") (collectively, "Defendants") for using, making,

. presenting, and causing to make, use, or present false claims to the governments of

 the United States and States (collectively, the "Government"), in violation of the

 False Claims Act, 31 U.S.C. § 3729, et seq. and applicable state law.

       2.           This case is about the fraudulent practices being committed by

 Meditech, a DNA testing company that, upon information and belief, provides: (1)

 pharmacogenomic DNA tests l ; (2) cancer DNA tests2 ; and (3) pre-conception DNA


 IPharmacogenomic DNA tests determine how an individual's genes will impact
 how he or she responds to certain riiedications, which may impact which drug a
 doctor chooses to prescribe or how safe/effective a drug is for that patient.

 2Cancer DNA tests determine whether an individual-based on his or her genetic
 makeup-is predisposed to certain types of cancers~

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tests 3 (collectively, "DNA Tests") to Medicare/Medicaid beneficiaries across the

country.

       3.     The fraudulent scheme alleged herein is straightforward-and is one

that is becoming increasingly prevalent throughout the United States. 4 Since at least


3Pre-conception DNA tests (alk/a carrier tests) determine if a couple is at risk of
having a child with certain genetic conditions or a genetic disorder.

4   There have been several recent False Claims Act settlements involving medically
 unnecessary DNA Tests. Millennium Health Agrees to Pay $256 Million to Resolve
 Allegations of Unnecessary Drug and Genetic Testing and Illegal Remuneration to
 Physicians, U.S. DEP'T OF JUSTICE, Office of Public Affairs (Oct. 19,2015), https://
  \vww. ilIstice.gov/ opalpr!millenn ium-health-agrees-pav-256-mi Ilion-resol ve-allegat
  ions-unnecessarv-drug-and-genetic; Genetic Testing Company Agrees to Pay $1.99
 Million to Resolve Allegations of False Claims to Medicare for Medically
. Unnecessary Tests, U.S. DEP'T OF JUSTICE, Office of Public Affairs (Feb. 11,2019),
  https://www. iustice.go~ /opa/pr! genetic-testing-company -agrees-pav- 199-mi IIion-re
  solve-allegations-false-claims-medicare.

Just recently, the Office of Inspector General published a Fraud Alert warning the
public of genetic testing scams. Fraud Alert: Genetic Testing Scams, US. DEP'T OF
HEALTH AND HUMAN SERVICES, Office of Inspector General (June 3, 2019),
https://oig.hhs.gov/fraud/consumer-aierts/aielts/geneticscam.asp?utm source=web
site&utm campaign=geneticscam. There have also been several recently published
state government bulletins and news articles specifically warning about this type of
fraudulent scheme. E.g., WARNING! Genetic Tests Must Be Ordered By Your
Doctor To Be ,Covered By Medicare, Centers for Medicare & Medicaid Services,
https://www.regence.com/documents/ 10 I 92/?456242/Genetic+testing+scams/3439
b46a.,2t97-40d?-94ec-c6?e44 7871 ?e; WARNING: Individuals Promoting Genetic
Testing of Medicare Patients Though Meetings and Educational Sessions Could Be
Using This Test to Commit Medicare Fraud and Abuse, Kansas Senior Medicare
Patrol, https://www.kdads.ks.gov/docs/default-sollrce/commissions/medicare-progr
ams/kansas-senior-medicaid-patrol-Csmp)/genetic-testing-kansas.pdf?sfvrsn=76a63
4ee 4; Landers, Jim, Medicare Fraud Is Often Cloaked as 'Free' Services for
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2016, Defendants.have defrauded the Government through a nationwide scheme of

biJling the Government for thousands of DNA Tests that were medically

unnecessary because they were:

                   (i)    provided not based on an individual assessment of
                          the patients' needs, but instead for general screening
                          and/or investigational purposes to detect an
                          undiagnosed disease or disease pre-disposition; and

                   (ii)   administered by sales representatives collecting
                          DNA specimens .without any physician pre-
                          approval.

      4.           More specifically, Meditech trained and instructed a nationwide team

of door-to-door salesmen to solicit and personally administer DNA Tests via cheek

(buccal) swabs to MedicarelMedicaid beneficiaries. Meditech even instructs its

sales representatives to wear scrubs and hold themselves out as medical

personnel to further bait Medicare/Medicaid beneficiaries into receiving the DNA

Tests. Upon information and belief, the sales representatives operate on 100%

commission and are incentivized to perform as many tests as possible and only get

paid if and when Medicare/Medicaid pays for the DNA Tests. These cheek swabs

are collected without the involvement of any health care provider; regardless of the
           I   r




individual patients' needs; and without any determination by a healthcare provider


Seniors, DALLAS NEWS, June 2015, https://www.dallasnews.com/bllsiness/health-
care/20 15/06/1 Llmedicare-frallcl-is-often-c1oaked-as-free-services-for-seniors.
                                           3
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                            .\..




that such testing was medically necessary or appropriate.

      5.     Upon infonnation and belief, after administering the DNA Tests (and

obtaining the patients' Medicare/Medicaid information and confinning Medicare

eligibility), Meditech has a telemedicine doctor (provided by the John Doe Entities)

call the patients and retroactively order the DNA tests that were already administered

days-sometimes even weeks or months--earlier. Simply put, Meditech does not

seek to establish a doctor-patient relationship before administering the DNA Tests

to Medicare/Medicaid beneficiaries. Meditech then ships the DNA Test samples to

its p(irtner lab-Bioconfirm Labs-for analysis, who knowingly bills the

Government for the medically unnecessary DNA Tests.

      6.     Mr. Sullivan is a former sales representative for Meditech and
                                                                                  -
discovered the fraud shortly after he began working for the company in 2019. Mr.

.sullivan received weekly training and instructions from Meditech on how to execute

the fraudulent practice and has copies of Meditech's sales/marketing tools for

committing the fraud.

      7.     The Government pays hundreds--even thousands-of dollars per DNA

Test5 (with some cancer tests costing as much as $2,000-$3,800 per test). In



5 See Should You Get Genetic' Testing for Cancer Risk?, AMERICAN CANCER
SOCIETY, Apr. 3, 2018, https:l/www.cancer.org/Jatest-news/should-vou -get ~genetic-
                                          4
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addition, upon infonnation and belief, Meditech purposefully uses multiple CPT

codes for each test-thereby further inflating the reimbursement amounts. As a

result, the fraud is believed to be substantial and in an amount in excess of several

millions of dollars.

      8.     Under the tenns of the False Claims Act, this Complaint is to be filed

in camera and under seal and is to remain under seal for a period of at least sixty

(60) days and shall not be served on Defendants until the Court so orders. The

Government may elect to intervene and proceed with the action within the 60-day

time frame, or within any extensions of that initial sixty-day period granted by the

Court for good cause shown, after it receives both the Complaint and the material

evidence submitted to it.

II.   NATURE OF THE ACTION

      9.     This is an action to recover treble damages and civil penalties arising

from the fraudulent conduct of Defendants for using, making, presenting, and

causing to make, use, or present false statements and claims to the Government in

violation of the False Claims Act~ 31 U.S.C. § 3729, et seq. and applicable state law.

       10.   Under the False Claims Act, a private person may bring an action in


testing-for-cancer-risk.html (stating that genetic testing can be expensive and that
the final bill "can be thousands of dollars").

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federal district court for itself and for the United States, and may share in any

recovery. 31 U.S.C. § 3730(b). That private person is known as a "Relator" and the

action that the Relator brings is called a qui tam action. '

III.         JURISDICTION AND VENUE

             11.   This Court has subject matter jurisdiction to adjudicate this action under

28 U.S.C. §§1331, 1345.

             12.   This Court has personal Jurisdiction over the Defendants pursuant to 31

U.S.C. § 3732(a) because, upon information and belief, Defendants transact and

have transacted business in this District as part of their nationwide fraudulent

scheme.

             13.   Venue is proper in this District under 31 U.S.C. § 3732 and 28 U.S.C.

§ 1391(b) and (c) because, upon information and belief, Defendants transacted
       ',-

business in this District as part of their nationwide fraudulent scheme.

IV.          THE PARTIES
                                                          \

             14.   Mr. Sullivan brings this action on behalfofthe United States, including

its agency, the Department of Health and Human Services, its component, the

Centers for Medicare & Medicaid Services ("CMS," formerly the Health Care

Financing Administration), and all other government healthcare programs, such as

Medicaid, Medicare Part C (Medicare Advantage), TRICARE/CHAMPUS, Blue

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Cross/Blue Shield - CHIP, and Veterans Administration (collectively, "Medicare").

      15. . Mr. Sullivan also brings this action on behalf of the States of Alaska,

California, Colorado, Connecticut,   Delawar~,   Florida, Georgia, Hawaii, Illinois,

Indiana, Iowa, Louisiana, Maryland, Massachusetts, Michigan, Minnesota,

Montana, Nevada, New Hampshire, New Jersey, New Mexico, New York, North

Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Vermont, Virginia, State of

Washington, and the District of Columbia, including all state counterpart agencies

to the federal agencies referenced above (collectively, "Medicaid").

      16.    Mr. Sullivan also brings this action on behalf of himself, as permitted

under the False Claims Act. Mr. Sullivan is a Pennsylvania resident that discovered

the allegations set forth herein while working as a sales representative for Meditech.

Mr. Sullivan has direct and independent knowledge of the information on which the

allegations set forth in this Complaint are based, is the original source of these

allegations, and has knowledge of the false claims and records that Defendants

knowingly, falsely, and fraudulently submitted to the Government as alleged herein.

      17.    Upon information and belief, Meditech LLC is a Kansas limited
                                                                                 \

liability company with its principal place of business at 3402 Airport Circle,

Pittsburg, Kansas 66762.

      18.    Upon information and belief, Bioconfirm Laboratories, LLC            IS   a

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Georgia limited liability company with its principal place of business at 6755

Peachtree Industrial, Doraville, Georgia 30360.

      19. 'Upon information and belief, John Doe Entities 1-10 are various legal

entities, tht,: names and addresses of which are unknown at this time.

V.    LEGAL FRAMEWORK

      A.     The False Claims Act

      20.    The False Claims Act imposes civil liability upon any person who:

             (A) knowingly presents, or ~auses to be presented, a false
             or fraudulent claim for.payment or approval;

             (B) knowingly makes, uses, or causes to be made or used,
             a false record or statement material to a false or fraudulent
             claim; [or] .


             (G) knowingly makes, uses, or causes to be made or used,
             a false record or statement material to an obligation to pay
             or transmit money or property to the Government, or
             knowingly conceals or knowingly and improperly avoids
             or decreases an obligation to payor transmit money or
             property to the Government.

31 U.S.C. § 3729(a). The Affordable Care Act requires a person who has received

an overpayment from the Government to report and return the overpayment within

60 days of identification, or the date that any corresponding cost report is due; and

failure to report and return the overpayment is an obligation for purposes of the False

Claims Act under 31 U.S.C. § 3729(a)(1)(G). See 42 U.S.C. § 1320a-7k(d).
                                           8
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      21.     For purposes of the FCA;the terms "knowing" and "knowingly":

              (A) mean that a person, with respect to information - (i)
              has actual knowledge of the information; (ii) acts in
              deliberate ignorance of the truth or f~lsity of the
              information; or (iii) acts in reckless disregard of the truth
              or falsity of the information; and

             . (B) require no proof of specific intent to defraud.

31 U.S.C. § 3729(b). Effective November 2, 2015 (the date of enactment of the

Federal Civil Penalties Inflation Adjustment Act, Improvements Act of2015, Public
                                                                              \




Law 114-74, sec. 701 ("2015 Amendments")), the penalties increased from a

minimum-maximum per-claim penalty of $5,500 and $11,000' to $10,781 and

$21,563. The increased amounts apply to civil penalties assessed for violations

occurring after November 2, 2015. Violations that occurred on or before November

2,2015 are subject to the previous penalty amounts. On February 3, 2016., pursuant

to the 2015 Amendments annual re-indexing of the FCA penalties. for inflation, the

civil penalties again increased to a minimum-maximum per-claim penalty of

$10,957 and $21,916. As of January 19, 2018, the FCA penalties were again

increased to the current minimum-maximum per-claim penalty of $11,181 and

$22,363 ..




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      B.    The Medicare Program

      22.   The He'alth Insurance for the Aged and Disabled Program; popularly

known as the Medicare program, was created in 1965 as part of the Social Security

Act to pay the costs of certain healthcare services for eligible individuals. The

Secretary of Health and Human Services ("HHS"), an agency of the United States

whose activities, operations, and contracts are paid from federal funds, administers

the Medicare program through the Cen,ters for Medicare and Medicaid Services

("CMS"), a component ofHHS.

      23.   Medicare is a 100% federally s~bsidized health insurance system for

eligible Americans, including those aged 65 and older, certain disabled people, and

certain people with chronic diseases who elect coverage. 42 U.S.C. § 1395c; see 42

U.S.C. §§ 1395j-1395w. To participate in Medicare, a provider must sign and fi1e'a.

Provider Agreement with CMS promising compliance with applicable statutes,

regulations, and guidance. 42 U.S.C. § 1395cc; 42 C.F.R. § 412.23(e)(1). Medicare

service proyiders have a legal duty to familiarize themselves with Medicare's

reimbursement rules, including those delineated in the Medicare Manuals. Heckler

v. Cmty. HealthServ. o/Craw/ordCo., Inc., 467U.S. 51,64-65 (1984).

      24.   Under Medicare Part B, providers are, typically    compensate~   for the

services they provide to Medicare beneficiaries on a "fee-for-service" basis as

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detennined by Medicare's fee schedule.         42 U.S.C. § 1395w-4.        To obtain

compensation, providers must deliver a compensable service, certifY that the service

was medically necessary for the health of the patient, certifY that the service was

personally furnished by the physician (or under his or her immediate supervision),

and detennine the appropriate diagnosis and procedure code to describe the problem

and service for billing.

      25.    In order to bill Medicare, a provider must submit a fonn called the CMS

1500. The fonn describes, among other things, the provider, the patient, the referring

physician, the services provided by procedure code, jhe related diagnosis code(s),

the dates of service, and the amounts charged. The provider certifies on the CMS

1500 claim that the information provided is truthful and that the services billed on

the fonn were "medically indicated and necessary."

      26.    Reimbursement for Medicare claims is made· by the United States

through HHS.      CMS is an agency of HHS and is directly responsible for the

administration of the Medicare program.       CMS, in tum, contracts with private

insurance carriers to administer and pay claims from the Medicare Trust Fund. See

42 U.S.C. § 1395u.         Claims submitted for reimbursement are to be paid in

accordance with the Social Security Act, Code of Federal Regulations, and Medicare

Rules and Regulations promulgated by CMS.

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       27.    By participating in the Medicare program, Defendants are charged with
                      "                            ,

'actual notice and knowledge of the federal and state statutes, regulations, and rules

applicable to the Medicare program, and has consented to compliance with all such

statutes, regulations, and rules, including those governing reimbursement.

       c.     The Medicaid Program

       28..   Medicaid is a joint federal-state program that pays for healthcar,e

services for low-income'· individuals, including pregnant women, children, and

parents and other caretaker relatives, as well as elderly and disabled individuals. As

a result of the Affordable Care Act, each state had the option to expand eligibility

for Medicaid beginning in calendar year 2014 to all nonelderly adults with. income

below 138 perceIJ.t of the federal poverty guidelines.

       29.    Medicaid is jointly funded by state and federal governments. The

federal government's share of each state's Medicaid spending, known as the Federal

Medical Assistance Percentage ("FMAP"), is based upon the state's per capita

income compared to the national average. 42 U.S.C. § 1396d(b). Such share must.

be at least 50 percent, but no more than 83 percent, and historically has averaged

about 57 percent. In other. words, the federal goverl).ment guarantees to match at

least $1 in federal funds for every $1 any individual state spends on its Medicaid

program.

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      30.    State Medicaid programs must comply with the minimum requirements

set forth in the federal Medicaid statute to qualifY for federal funding. 42 U.S.C. §

1396a. In order to receive reimbursement from Medicaid, a provider must submit a

signed claims form to the state's Medicaid program, certifYing that the information

on the form is ''true,   acc':1rate~   and complete." 42 C.F .R. § 455.18. The provider

fiJ.rther certifies that it "understand[s] that payment of this claim will be from federal

and state funds, and that any falsification, or concealment of a material fact, may be

prosecuted under federal and state laws." Id.

      31.    By participating in a state's Medicaid program,' Defendants are charged

with actual notice and knowledge of the federal and state statutes, regulations, and

rules applicable to the Medicaid program, and has consented to compliance with all

such statutes, regulations, and rules, including those governing reimbursement.

      D.     Regulation of DNA Tests

             1.     Types of DNA Tests and Applicable Reimbursement Rates

      32.    DNA Tests are a new tool in medicine and consist primarily of two

main categories: (1) pharmacogenomic DNA tests; and (2) cancer DNA               t~sts.   In

addition, a third type of test, pre-conception DNA tests, has recently developed.

      33.    The first category of tests-pharmacogenomic DNA tests-involve

testing certain genes to determine how any given individual will respond to specific

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medications. Drugs are metabolized slowly in individuals carrying polymorphisms

that reduce enzyme activity, and these individuals are at an increased risk for adverse

drug reactions or therapeutic failure. Alternatively, a genetic polymorphism that

increases metabolism could result in .ineffective drug treatment. Indeed, the FDA\




has stated that "[p ]harmacogenomics can play an important role in identifying

responders and non-responders to medications, avoiding adverse events, and

optimizing drug dose." Table of Pharmacogenomic Biomarkers in Drug Labeling,

U.S. FOOD & DRUG ADMINISTRATION, https://w'vvw.fda.gov/drugs/scienceresearch/

llcm572698.htm. 'Examples ofpharmacogenomic DNA tests, along with their 2018

Medicare   reimbu~~ement    rates (which may vary depending on year and geographic
           .
location), include:

               a.     CPT Code: 81479
                      Genes Tested: CYP2B6, OPRM1; DRD2, HTR2C, UGT2B15,
                      CYP2B6, COMT, and BCHE~
                      Drug Class Tested: Addiction, Antipsychotics,
                      Benzodiazepines, Opioids, Neuromuscular Blockers
                      2018 Reimbursement Rate: $174.81

               b.     CPT Code: 81381
                      Genes Evaluated: CYP2C19, CYP2D6,
                      Drug Class Tested: Anticonvulsants, Benzodiazepines, Muscle
                      ,R~laxants, Platelet Inhibitors.
                      2018 Reimbursement Rate: $169.90

               c.     CPT Code: 81225
                      Genes Tested: CYP2C19, CYP2D6,
                      Drug Class Tested: Antidepressants, Benzodiazepines, Muscle
                                          14
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                   Relaxants, Platelet Inhibitors.
                   2018 Reimbursement Rate: $291.36.

             d.    CPT Code: 81226
                   Gen'es Tested: CYP2D6 .
                   Drug Class: Antidepressants, Antipsychotics, ADHD Therapy,
                   Opioids
                   2018 Reimbursement Rate: $450.91

E.g., 2018 Annual Physician Notice, MILL'ENNIUM HEALTH, https:llww\v.milienniu

mhealth.com/wp:"content/uploads/20 IS/07 I Annual- Physician-Notice,pdf.

      34.    The second category of tests---cancer DNA tests---determine whether

an individual, based on his or her genetic makeup, is predisposed to certain types of

cancers. Starting in March 20 IS, Medicare began covering cancer DNA tests. E.g.,

Schattner, Elairy.e; Medicare Will Cover Genetic Testing, With Caveats, FORBES

(Mar. 16,20 lS), https:llwww.forbes.com/sites/elaineschattnerl20 lS/03/l6/medicare

-will-cover-genetic-cancer-testing-with-caveats/#4cb2 9070ge5 5.      Examples of

cancer DNA tests, along with their 201S Medicare reimbursement rates (which may

vary depending on year and geographic location), include:

            . a.   CPT Code: '81211
                   BRCAl, BRCA2 (breast cancer 1 and 2) (e.g., hereditary breast
                   and ovarian cancer) gene analysis; full sequence analysis and
                   common duplication/deletion variants in BRCAI (i.e., ex on 13
                   deI3.S35kb, exon 13 dup 6kb, exon 14-20 del 26kb, exon 22 del
                   510bp, exon S-9 del 7 .lkb).
                   2018 Reimbursement Rate: $2,395.84


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           b.    CPT Code: 81214
                 BRCA1 (breast cancer 1) (e.g., hereditary breast and ovarian
                 cancer) gene analysis; full sequence analysis and common
                 duplication/deletion variants (i.e., exon 13 del3.835kb, exon 13
                 dup 6kb, exon 14-20 del 26kb, exon 22 del 510bp, exon 8-9 del
                 1:1kb).
                 2018 Reimbursement Rate: $1,301.42

           c.    CPT Code: 81215
                 BRCA1 (breast cancer 1) (e.g., hereditary breast and ovarian
                 cancer) gene analysis; known familial variant.
                 2018 Reimbursement Rate: $375.25

           d.    CPT Code: 81217
                 BRCA2 (breast cancer 2) (e.g., hereditary breast and ovarian
                 cancer) gene analy~is;known familial variant.
                 2018 Reimbursement Rate: $375.25

           e.      CPT Code: 81435
                 . Hereditary colon cancer disorders (e.g., Lynch syndrome, PTEN
                   hamartoma syndrome, Cowden syndrome, familial adenomatosis
                . polyposis); genomic sequence analysis panel, must include
                   sequencing of at least 10 genes, including APC, BMPR1A,
                   CDHl, MLHl, MSH2, MSH6, MUTYH, PTEN, SMAD4, and
                   STKl1
                   2018 Reimbursement Rate: $722.10

           f.    CPT Code: 81519
                 Oncology (breast), mRNA, gene expression profiling by real-
                 time RT:PCR of 21 genes, utilizing formalin-fixed paraffin
                 embedded tissue, algorithm reported as recurrence score.
                 2018 Reimbursement Rate: $3,873.00

See, e.g. 2018 Clinical Diagnostic Laboratory Fee Schedule, American Medical

Association, https:lldhhr.wv.gov/bms/FEES/Docllments/Clinical%20Diagnostic%2

oLab%20F ees/PDF/Copv%20o t%20CY%?070 18%20C Iinical %20Lab%20F ee%2
                                      16
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OSchedule%20-%20 1.22.18%20%28002%29.pdf; see also Molecular Pathology /

Molecular Diagnostics / Genetic Testing, UnitedHealthcare, Dec. 12, 2018,

https://\vw\v.uhcprovider.com/content/dam/provider/docs/public/policies/medadv-

guidelines/m/molecular-pathologv-diagnostics-genetic-testing.pdf.

      35.    The third type oftest, pre-conception DNA tests, is a new test that will

inform couples if they are at a Fisk for having a child with certain genetic conditions.

E.g., A Guide to Your Carrier Testing Options, UNC Department of Obstetrics &

Gynecology, https:/lwww.med.unc.edu/obgyn/mti11/our-services/a-guide-to-your-c

arrier-testing-options/. One example of a pre-conception DNA test, along its 2018

Medicare reimbursement rate (which may vary depending on year and geographic

location), includes:

             a.      CPT Code: 81412
                     Ashkenazi Jewish associated disorders (e.g., Bloom syndrome,
                     Canavan disease, cystic fibrosis, familial dysautonomia, Fanconi
                     anemia group C, Gaucher disease, Tay-Sachs disease), genomic
                  . 'sequence analysis panel, must include sequencing of at least 9
                     genes, including ASP A, BLM, CFTR, FANCC, GBA, HEXA,
                     IKBKAP, MCOLNl, and SMPDl
                     2018 Reimbursement Rate: $2,448.56

Carrier Testingfor Genetic Diseases, UnitedHealthcare (Jan. 1,2019), https:llwww

.uhcprovider.com/content/dam/provider/docs/public/policies/comm-medical-drug/c

arrier-testing-for-genetic-diseases.pdf; 2018 Clinical Diagnostic Laboratory Fee

Schedule, https://dhhLwv.gov/bms/BMS%20Pharmacv/SMAC/Oocuments/CY%?
                                   17
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020 18%20Clinical%20Lab%20Fee%20Schedule%20-%202.8.18.pdf

             2.     Eligibility for Reimbursement of DNA Tests

      36.    In any event, Medicare/Medicaid pays for only those DNA Tests that

are "reasonable 'and necessary" for the diagnosis or treatment of the beneficiary.

E.g., 42 U.S.C. §.1395y(a)(l)(A).

      37.    First, when an individual "offers to provide an educational session to a

group of seniors, takes their Medicare number, and does a DNA swab, this does not

meet Medicare's criteria of medical necessity."      E.g., WARNING: Individuals

. Promoting Genetic Testing of Medicare Patients Though Meetings and Educational

Sessions Could Be Using This Test to Commit Medicare Fraud and Abuse, KANSAS

SENIOR MEDICARE PATROL, https://w'..vw.kdads.ks.gov/docs/default-source/commi

ssions/medicare-programs/kansas-senior-medicaid~patrol-(smp)/genetic-testing­

kansas.pdf?sfvrsn=76a634ee 4. Similarly, when an individual goes door-to-door

doing DNA    swab~   of any and all seniors, that too does not constitute medical

necessity. See id

      38.   Instead, they are simply "offering a service to the general population

without determining actual need and they are doing it outside the guidance of the

patient's own physician."     Id.   And if the individual intentionally bills the

Government for these services "that does not mee~medical necessity and do[es] not

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have a referring physician familiar with the patient's health needs," they are

committing fraud upon the Government. Id. Thus, screening services, such as pre-

symptoqmtic genetic tests and services: are those used to detect an undiagnosed

disease     or    disease   predisposition,   and   as   such   are, not   covered    by

Medicare/Medicaid.

      39.        Second, DNA Tests must be ordered by a physician or practitioner, and

labs must keep the orders in a patient's case me. E.g., WARNING! Genetic Tests

Must Be Ordered By Your Doctor To. Be Covered By Medicare, CENTERS FOR

MEDICARE & MEDICAID SERVICES, https://www.reg:ence.com/documents/lO 192/24

56242/Genetic+testing:+scams/3439b46a-2f97-40d2-94ec-c62e44 78712e.                Thus,

DNA Tests that are administered without physician orders or an assessment of the

patients' needs are ineligible for Government reimbursement.

      40.        Third, Medicare provides that the "date of service" of a lab test is the

date the specimen was collected.          42 C.F.R. § 414.51O(a);' Medicare Claims

Processing Manual, Ch. 16 - Laboratory Services, § 120.1 ("The date of service

should be reported as the date of specimen collection."). Thus, when an i!J.dividual

administers a DNA cheek swab without the involvement of a          physician-an~     then

has a doctor call the patient and retroactively order the DNA test that were already

administered days weeks earlier-thanest is not eligible for reimbursement.

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VI.. FACTUAL ALLEGATIONS

      41.   Since at least 2016, Defendants have defrauded the Government

through a nationwide scheme of billing the Government for thousands of DNA

Tests that were medically unnecessary because they were:

            .(i)·   provided not based on an individual assessment of
                    the patients' needs, but instead for general screening
                    and/or investigational purposes to detect· an
                    undiagnosed disease or disease pre-disposition; and

            (ii)    administered by sales representatives collecting
                    DNA specimens without any physician pre-
                    approval.

      42.   More specifically, Meditech trained and instructed a nationwide team

of door-to-door salesmen to solicit and personally administer DNA Tests via cheek

(buccal) swabs to MedicarelMedicaid beneficiaries. Meditech even instructs its

sales representatives to wear scrubs and hold themselves out as medical

personnel to further bait Medicare/Medicaid beneficiaries into receiving the DNA
               .'            l.~




Tests. Upon .information and belief, the sales representatives operate on 100%

commission and are incentivized to perform as many tests as possible and only get

paid if and when Medicare/Medicaid pays for the DNA Tests. These cl1eek swabs

are collected without the involvement of any healthcare provider; regardless of the

individual patients' needs; and without any determination by a healthcare provider

that such testing was medically necessary or appropriate.
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      43.     Upon information and belief, after administering the DNA Tests (and

obtaining the patients' Medicare/Medicaid information and confirming Medicare

eligibility), Meditech has a telemedicine doctor (provided by the John Doe Entities)

call the patients and retroactively order the DNA tests that were already administered

days-sometimes even weeks or months-earlier. Simply put, Meditech does not

seek to establish a doctor-patient relationship before administering the DNA Tests

to Medicare/Medicaid beneficiaries. Meditech then ships the DNA Test samples to

its partner lab-Bioconfirm Labs-for analysis, who knowingly bill the

Government for the medically unnecessary DNA Tests.

      44.· Mr. Sullivan is a former sales representative for Meditech and

di~covered   the fraud shortly after he began working for the company.in 2019. Mr.

Sullivan received weekly training and instructions from Meditech on how to execute

the fraudulent practice and has copies of Meditech's sales/marketing tools for

committing the fraud.

      45.     The Government pays hundreds-even thousands--of dollars per DNA

Test (withsome cancer tests costing as much as $2,000-$3,800 per test). In addition,

upon information and belief, Meditech purposefully uses multiple CPT codes for

each test-ther~by further inflating the reimbursement amounts.          The fraud is

believed to be substantial and in an amount in excess of several millions of dollars.

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                                   *      *     *
      46.    In sum, Defendants have defrauded the Government by submitting false

claims for DNA Tests that 'were medically unnecessary because they were: (1)

provided not based on individual need but for general screening/investigational

purposes; and (2) administered by sales representatives collecting DNA specimens

without any physician pre-:approval.

      47. >As a result, these >DNA Tests were ineligible for Government

reimbursement.     By submitted these claims, Defendants misrepresented to the

Government that they were in compliance with all relevant statutory, regulatory, and

contractual reql:1irements. Defendants' misrepresentations were material to the
      ,
'Government's decision to pay for these DNA Tests         In other words, had the

Government known that these DNA Tests were medically unnecessary, it would not

have paid for the tests.

                              COUNT ONE
                  VIOLATION OF THE FALSE CLAIMS ACT
                         31 U.S.C. § 3729(a)(I)(A)

      48.    Relator incorporates by reference the allegations set forth     III   the

foregoing paragraphs as though fully set forth herein.

      49.     As set forth above, from at least 2016 through the present, Defendants

presented false or fraudulent claims for payment, or knowingly caused false or

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fraudulent claims for payment to be presented, to officials of the United States

Government in violation of31 U.S.C. § 3729(a)(I)(A). Defendants knowingly and

falsely certified that its claims for reimbursement complied with all applicable laws

and regulations.

      50.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the United States suffered actual damages and therefore is

entitled to multiple damages under the False Claims Act, to be determined at trial,

plus a civil penalty for each violation.

                               COUNT TWO
                   VIOLATION OF THE FALSE CLAIMS ACT
                          31 U.S.C. § 3729(a)(1)(B)

      51.    Relator incorporates by reference the allegations set forth       In   the

foregoing paragraphs as though fully set forth herein.

      52.    As set forth above, from at least 20~6 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to false or fraudulent claims in violation of 31 U.S.C. § 3729(a)(l)(B).

Defendants knowingly and falsely certified that its claims for reimbursement

complied with all applicable laws and regulations.

      53.    By virtue of the false or fraudulent   clai~s   submitted or caused to be

submitted by Defendants,the United States suffered actual damages and therefore is

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entitled to multiple damages under the False Claims Act, to be determined at trial,

plus a civil penalty for each violation.

                            COUNT THREE
                  VIOLATION OF THE FALSE CLAIM ACT
                         31 U.S.C. 3729(a)(I)(C)

      54.    Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      55.    As set forth above, from at least 2016 through the present, Defendants

knowingly   conspire~   to commit a violation of the False Claims Act in violation of

31 U.S.C. §3729(a)(1)(C).

      56.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the United States suffered actual damages and therefore is

entitled to multiple damages under the False Claims Act, to be determined at trial,

plus a civil penalty for each violation.

                        COUNT FOUR
     VIOLATION OF THE ALASKA MEDICAL ASSISTANCE FALSE
                CLAIMS AND REPORTING ACT
                  ALASKA STAT. § 09.58.010(a)(1)

      57.    Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      58.    As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to· the State of Alaska false or
                                    24
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fraudulent claims f.or payment .or approval m vi.olati.on .of Alaska Stat. §

09.58.0 10(a)(l).

       59~.   By virtue .of the false .or fraudulent claims submitted .or caused t.o be

submitted by Defendants, the State .of Alaska suffered actual damages and theref.ore

is entitled t.o multiple damages under the Alaska Medical Assistance False Claims

and Rep.orting Act,. t.o be determined at trial, plus a civil penalty f.or each vi.olati.on.

                         COUNT FIVE
     VIOLATION OF THE ALASKA MEDICAL ASSISTANCE FALSE
                CLAIMS AND REPORTING ACT
                  ALASKA STAT. § 09.58.01~(a)(2)


     . 60.    Relat.or inc.orp.o.rates by reference the allegati.ons set f.orth m the

f.oreg.oing paragraphs as th.ough fully set fQrth herein.

       61.    As set f.orth ab.ove, from at least 2016 through the present, Defendants

kn.owingly made, used, .or caused t.o be made .or used false rec.ords .or statements

material t.o a false .or fraudulent claim submitted t.o the State .of Alaska in vi.olati.on

.of in vi.olati.on .of Alaska Stat. § 09.58.01O(a)(2).

       62.    By virtue .of the false .or fraudulent claims submitted .or caused t.o be
                             .        .
submitted by Defendants, the State .of Alaska suffered actual damages and theref.ore

is entitled t.o multiple damages under the Alaska Medical Assistance False Claims

and Rep.orting Act,.t.o be determined at trial, plus a civil penalty f.or each vi.olati.on.


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                          COUNT SIX
     VIOLATION OF THE ALASKA MEDICAL ASSISTANCE FALSE
                CLAIMS AND REPORTING ACT
                  ALASKA STAT. § 09.58.010(a)(3)

      63.     Relator incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein.
                                                          ,
      64.    As set forth above, from at least 2016 through the present~ Defendants

knowingly conspired together to commit violations of the Alaska Medical

Assistance False Claims and Reporting Act in violation of Alaska Stat. §

09.58.010(a)(3).

      65.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Alaska suffered actual damages and therefore

is entitled to multiple damages under the Alaska Medical Assistance False Claims

and Reporting Act, to be determined at trial, plus a civil penalty for each violation.

                        COUNT SEVEN
        VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
                  CAL. GOV'T CODE § 12651(A)(l)

      66.    Relator incorporates by reference the allegations set forth        III   the

foregoing paragraphs as though fully set forth herein.

      67.    As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of California false or

fraudulent claims for payment or appr9val in violation of Cal. Gov't Code
                                   26
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§1265l(A)(1).

      68.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of California suffered actual damages and

therefore is entitled to mUltiple damages under the California False Claims Act, to

be detennined at trial, plus a civil penalty for each violation.

                          COUNT EIGHT
         VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
                   CAL. GOV'T CODE § 12651(A)(2)

      69.    Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      70.    As' set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of California in violation

of in violation of Cal. Gov't Code § 12651 (A)(2).

      71.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of ,California suffered actual damages and

therefore is entitled to multiple damages under the California False Claims Act, to

be detennined at trial, plus a civil penalty for each violation.




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                            COUNT NINE ,
         VIO LA TION OF THE CALIFORNIA FALSE, CLAIMS ACT
                     CAL. GOV'T CODE § 12651(A)(3)


      72.         Relator incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein.

      73.     As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the California False Claims

Act in violation of Cal. Gov't Code §12651(A)(3).

      74:     By virtue of the·false or fraudulent claims submitted or caused to be

submitted    ~y    Defendants, the State of California suffered actual damages and

therefore is entitled to multiple damages under the California False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                       , COUNTTEN
  VIOLATION OF THE COLORADO MEDICAID FALSE CLAIMS ACT
                COLO. REV. STAT. § 25.5-4-305(1)(a)

      75.     Relator incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein.
                                         .                         . .
      76.     As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Colorado false or

fraudulent claims for payment or approval in violation of Colo. Rev. Stat. §25.5-4-

305(1)(a).

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                                   ·   "




      77.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Colorado suffered actual damages and

therefore is entitled to multiple damages under the Colorado Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                       COUNT ELEVEN
  VIOLATION OF THE COLORADO MEDICAID FALSE CLAIMS ACT
                COLO. REV. STAT. § 25.5-4-305(1)(b)

      78.    Relator incorporates by reference the allegations set forth        In   the

foregoing paragraphs as though fully set forth herein.

      79.    As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Colorado in violation

of Colo. Rev. Stat. §25.5-4-305(l)(b).

      80.    By virtue of the false or fraudulent claims submittedor caused to be

submitted by Defendants, the State of Colorado suffered actual damages and

therefore is entitled to multiple.damages under the Colorado Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                       COUNT TWELVE
  VIOLATION OF THE COLORADO MEDICAID FALSE CLAIMS ACT
                COLO. REV. STAT. § 25.5-4-305(1 )(g)

      81.    Relator incorporates by reference the allegations set forth        In   the

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foregoing paragraphs as though fully set forth herein.

       82.     As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Colorado Medicaid False

Claims Act in violation of Colo. Rev. Stat. §25.5-4-305(1)(g).

       83.     By virtue of the false or fraudulent claims submitted or caused tobe

submitted by Defendants, the State of· Colorado suffered actual damages and

therefore is entitled to multiple damages under the Colorado Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                            COUNT THIRTEEN
             .VIOLATION OF THE CONNECTICUT FALSE CLAIMS
                         CONN GEN. STAT. § 4-275(1)


       84.     Relator incorporates by reference the allegations set forth       III   the

foregoing paragraphs as though fully set forth herein.

       85.     As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Connecticut false or

fraudulent claims for payment or approval in violation. of Conn. Gen. Stat. §4-

275(1) ..

       86.     By virtue of the   fals~   or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Connecticut suffered actual damages and

therefore is entitled to multiple damages under the Connecticut False Claims Act, to

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be determined at trial, plus a civil penalty for each violation.

                      COUNT FOURTEEN
       VIOLATION OF THE CONNECTICUT FALSE CLAIMS ACT
                    CONN. GEN. STAT. § 4-275(2)


      87.    Relator incorporates by reference the allegations set forth     In   the
       .                                   .
foregoing paragraphs as though fully set forth herein.

      88.    As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Connecticut in

violation of Conn. Gen. Stat. §4-275(2).

      89.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Connecticut suffered actual damages and

therefore is entitled to multiple damages under the Connecticut False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                        COUNT FIFTEEN
       VIOLA TION OF THE CONNECTICUT FALSE CLAIMS ACT
                     CONN. GEN. STAT. § 4-275(3)


      90.    Relator incorporates. by reference tl)e allegations set forth   In   the

foregoing paragraphs as though fully set forth herein.

      91.    As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Connecticut False Claims

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Act in violation of Conn. Gen. Stat. §4-275(3).

      92.     By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Connecticut suffered actual damages and

therefore is entitled to multiple damag~s under the Connecticut False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                           COUNT SIXTEEN '
              VIOLATION OF THE DELAWARE FALSE CLAIMS
                        AND REPORTING ACT
                       DEL. CODE ANN. § 1201(a)(1)

      93.     Relator incorporates' by reference the allegations set forth      In   the

foregoing paragraphs as though fully set forth herein.

      94.     As set forth above, from   at least 2016 through the present, Defendants
knowingly presented or caused to be presented to the State of Delaware false or

fraudulent claims for payment or approval in violation of Del. Code Ann.

§1201(a)(1)

      95.     By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Delaware suffered actual damages and

therefore is entitled to multiple damages under the Delaware False Claims and

Reporting Act, to be determined at trial, plus a civil penalty for each violation.




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                       COUNT SEVENTEEN
            VIOLATION OF THE DELAWARE FALSE CLAIMS
                      AND REPORTING ACT
                     DEL. CODE ANN. § 1201(a)(2)


      96.    Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      97.    As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Delaware in violation

of Del. Code Ann. §1201(a)(2).

      98.    By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of· Delaware suffered actual damages and

therefore is entitled to multiple damages under the Delaware False Claims and

Reporting Act, to be determined at trial, plus a civil penalty for each violation.

                        COUNT EIGHTEEN
            VIOLATION OF THE DELAWARE FALSE CLAIMS
                      AND REPORTING ACT
                     DEL. CODE ANN. § 1201(a)(3)

      99.    Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      100. As set forth above, from at least 20 16.through the present, Defendants

knowingly conspired together to commit violations of the Delaware False Claims

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  and Reporting Act in violation of Del. Code Ann. § 1201(a)(3).

         101. By virtue of the false or fraudulent claims submitted or caused to be '

  submitted by Defendants, the State of Delaware suffered actual damages and

  therefore is entitled to multiple damages under the Delaware False Claims and

  Reporting Act, to be determined at trial, plus a civil penalty for each violation.

                       COUNT NINETEEN
   VIOLATION OF THE DISTRICT OF COLUMBIA FALSE CLAIMS ACT
                     D.C. CODE § 2-381.02(a)(I)

         102. Relator incorporates by reference the allegations set forth         In   the

  foregoing paragraphs as though fully set forth herein.

         103. As set forth above, from at least 2016 through the present, Defendants

  knowingly presented or caused to be presented to the District of Columbia false or

  fraudulent claims for payment or approval in violation of D.C. Code. §2-

  381.02(a){l ) .

        . 104. By virtue of the false or fraudulent claims submitted or caused to be

  submitted by Defendants, the District of Columbia suffered actual damages and

., therefore is entitled to multiple damages under the District of Columbia False Claims

  Act, to be determined at trial, plus a civil penalty for each violation.




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                      COUNT TWENTY
 VIOLATION OF THE DISTRICT OF COLUMBIA FALSE CLAIMS ACT
                   D.C. CODE § 2-381.02(a)(2)

       105. Relator incorporates by reference the allegations set forth       III   the

foregoing paragraphs as though fully set forth herein.

       106. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

rp:;tterial to a false or fraudulent claim submitted 'to the District of Columbia in

violation of D.C. Code §2-381.02( a)(2).

       107. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the District of Columbia suffered actual damages and

therefore is entitled to multiple damages under the District of Columbia False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                   COUNT TWENTY-ONE
 VIOLATION OF THE/DISTRICT OF COLUMBIA FALSE CLAIMS ACT
                   D.C. CODE § 2-381.02(a)(3)

       108. Relator incorporates by reference the allegations set forth       III   the

foregoing paragraphs as though fully set forth herein.

       109. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the District of Columbia False

Claims Act in violation of D.C. Code §2-381.02(a)(3).

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       110. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the District of Columbia suffered actual damages and

therefore is entitled to multiple damages under the District of Columbia False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                      COUNT TWENTY-TWO
           VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
                      FLA. STAT. § 68.082(2)(a)

       111 . Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

       112. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Florida false or
                                                                     ,
fraudulent claims for payment or approval in violation of Fla. Stat. §68.082(2)(a).

       113. By virtue of the false or fraudulent claims submitted or caused to be'

submitted by Defendants, the State of Florida suffered actual damages and therefore

is entitled to multiple damages under the Florida False Claims Act, to be determined

at trial, plus a civil penalty for each violation.

                     COUNT TWENTY-THREE
           VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
                      FLA. STAT. § 68.082(2)(b)

       114. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

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        115. As set forth above, from at least 2016 through the pre~ent, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Florida in violation

of Fla. Stat. §6B.OB2(2)(b).

        116. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Florida suffered actual damages and therefore

is entitled to mUltiple damages under the Florida False Claims Act, to be determined

at trial, plus a civil penalty for each violation.

                          COUNT TWENTY -FOUR
               VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
                           FLA. STAT. § 68.082(2)(c)

        117. Relator" incorporates by reference the allegations set forth      In   the

foregoing paragraphs as though fully set forth herein.

        lIB. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Florida False Claims Act

in violation of Fla. Stat. §6B.OB2(2)(c).

        119. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Florida suffered actual damages and therefore

is entitled to multiple damages under the Florida False Claims Act, to be determined

at trial,   plu~   a civil penalty for each violation.

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                         COUNT TWENTY-FIVE
                VIOLATION OF THE GEORGIA STATE FALSE
                        MEDICAID CLAIMS ACT
                      GA. CODE ANN. § 49-4-168.1(a)(1)


       120. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

       121. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Georgia false or

fraudulent claims for payment or approval in violation of Ga. Code Ann. §49-4-

168.1 (a)(1).

       122. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Georgia suffered actual damages and therefore

is entitled to multiple damages under the Georgia State False Medicaid Claims Act,

to be determined at trial, plus a civil penalty for each violation.

                          COUNT TWENTY -SIX
                VIOLATION OF THE GEORGIA STATE FALSE
                        MEDICAID CLAIMS ACT
                      GA. CODE ANN. § 49-4-168.1(a)(2)

       123. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

    . 124. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

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material to a false or fraudulent claim submitted to the State of Georgia in violation

of Ga. Code Ann. §49-4-168.l(a)(2).

       125. By virtue of the false or fraudulent·claims submitted or caused to be

submitted by Defendants, the State of Georgia suffered actual damages a~d therefore

is entitled to multiple damages under the Georgia State False Medicaid Claims Act,

to be determined at trial, plus a civil penalty for each violation.

                       COUNT TWENTY-SEVEN
               VIOLATION OF THE GEORGIA STATE FALSE
                       MEDICAID CLAIMS ACT
                     GA. CODE ANN. § 49-4-168.1(a)(3)


       126. Relator incorporates by reference the allegations set forth        In   the

foregoing paragraphs as though fully set forth herein.

       127. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Georgia State False

Medicaid Claims Act in violation of Ga. Code Ann. §49-4-168.1(a)(3). '

       128. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State ofG~orgia suffered actual damages and therefore

is entitled to multiple damages under the Georgia State False Medicaid Claims Act,

to be determined at trial, plus a civil penalty for each violation.




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                       COUNT TWENTY-EIGHT
           . VIOLATION OF THE HAWAII FALSE CLAIMS ACT
                     HAW. REV. STAT. § 661-21(a)(1)

       129. Relator incorporates by reference the allegations set forth       In   the

foregoing paragraphs as though fully set forth herein.'

       130. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Hawaii false or

fraudulent claims for payment. or approval in" violation of Haw. Rev. Stat.
                                     \

§661.21(a)(1).

       131. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Hawaii suffered actual damages and therefore

is entitled to multiple damages under the Hawaii False Claims Act, to be determined

at trial, plus a civil penalty for each violation. ,

                        COUNT TWENTY-NINE
             VIOLATION OF THE HAWAII FALSE CLAIMS ACT
                     HAW. REV. STAT. § 661-21(a)(2)

       132. Relator incorporates by reference the allegations set forth       In   the

foregoing paragraphs as though fully set forth herein.

       133. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or .caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Hawaii in violation

                                             40
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of Haw. Rev. Stat. §661-21(a)(2). '.

       134. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Hawaii suffered actual damages and therefore

is entitled to multiple damages under the Hawaii False Claims Act, to be determined

at trial, plus a civil penalty for each violation.

                           COUNT THIRTY
            V,IOLATION OF THE HAWAII FALSE CLAIMS ACT
                     HAW. REV. STAT. § 661-21(a)(8)

       135. Relator incorporates by reference the allegations set forth     III    the

foregoing paragraphs as though fully set forth herein.

       136. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Hawaii False Claims Act

in violation of Haw. Rev. Stat. §661-21(a)(8).

       137. By virtue of the false or fraudulent claims submitted or caused   t~   be

submitted by Defendants, the State of Hawaii suffered actual damages and therefore

is entitled to multiple damages under the Hawaii False Claims Act, to be determined

at trial, plus a civil penalty foreach violation

                      COUNT THIRTY-ONE
     VIOLATION OF THE ILLINOIS WHISTLEBLOWER REWARD
                     AND PROTECTION ACT
                740 ILL. COMPo STAT. § 175/3(a)(1)(A)

       138. Relator incorporates by reference the allegations set forth     III    the
                                     41
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foregoing paragraphs as though fully set forth herein.

       139. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Illinois false or

fraudulent claims for payment or approval in violation of 740' Ill. Compo Stat.

§ 175/3(a)(1 )(A).

       1,40. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Illinois suffered actual damages and
                     ,                                                  . therefore
                                                                          '




is entitled to multiple damages under the Illinois Whistleblower and Protection Act,

to be determined at trial; plus a civil penalty for each violation.

                       COUNT THIRTY-TWO
      VIOLATION OF THE ILLINOIS WHISTLEBLOWER REWARD
                      AND PROTECTION ACT
                 740 ILL. COMPo STAT. § 175/3(a)(1)(B) ,

       141. Relator incorporates by reference the allegations set forth         III   the

foregoing paragraphs as thougl:t fully set forth herein.

       142. As set forth above, from at least 2016 through the present, Defendants

knowingly made, ,used, or caused to be made or used false records or statements
                                             ,                        ,

material to a false or fraudulent claim submitted to the State of Illinois in violation

of 740111. Compo Stat. § 175/3{a)(1)(B).

       143. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Illinois suffered actual damages and therefore
                                         42
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is entitled to multiple damages under the Illinois Whistleblower and Protection Act,

to be determined at trial, plus a civil penalty for each violation.

                      COUNT THIRTY-THREE
      VIOLATION OF THE ILLINOIS WHISTLE BLOWER REWARD
                      AND PROTECTION ACT
                 740 ILL. COMPo STAT. § 175/3(a)(1)(C)

       144. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

       145. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Illinois Whistleblower and

Protection Act in violation 0[740 Ill. Compo Stat. § 17513(a)(l)(C).

       146. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Illinois suffered actual damages and therefore

is entitled to multiple damages under the Illinois Whistleblower and Protection Act,

to be determined at trial, plus a civil penalty. for each violation.

                       COUNT THIRTY-FOUR
           VIOLATION OF THE INDIANA FALSE CLAIMS AND
                WHISTLEBLOWER PROTECTION ACT
                   IND. CODE § 5-11-5.5-2(b)(1) & (8)

       147. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

       148. As set forth above, from at least 2016 through the present, Defendants

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knowingly presented or caused to be presented to the State of Indiana false or

fraudulent claims for payment or approval in violation of Ind. Code. §5-11-5.5-

2(b)(1) & (8).

      149. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State ofIndiana suffered actual damages and therefore

is entitled to multiple damages under the Indiana False Claims and Whistleblower

Protection Act, to be determined at trial, plus a civil penalty for each violation.

                         COUNT THIRTY-FIVE
          . VIOLATION OF THE INDIANA FALSE CLAIMS AND
                 WHISTLEBLOWER PROTECTION ACT
                    IND. CODE § 5-11-5.5-2(b)(2) & (8)

      150. Relator incorporates by reference the allegations set forth           In   the

foregoing paragraphs as though fully set forth herein.

      151. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Indiana in violation

ofInd. Code §5-11-5.5-2(b)(2) & (8).

      152. By virtue of the false or    fr~udulent   claims submitted or caused to be

submitted by Defendants, the State ofIndiana suffered actual damages and therefore

is entitled to multiple damages under the Indiana False Claims and Whistleblower

Protection Act, to be determined at trial, plus a civil penalty for each violation.
              .                       \ 44
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                        COUNT THIRTY-SIX
            VIOLATION OF THE INDIANA FALSE CLAIMS AND
                 WHISTLEBLOWER PROTECTION ACT
                      IND. CODE § S-1l-S.S-2(b )(7)

       153. Relator incorporates by reference the allegations set forth          In   the
                                    .     .
. foregoing paragraphs as though fully set forth herein.

       154. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired. together to commit violations of the Indiana False Claims and

Whistleblower Protection Act in violation of Ind. Code §5-11-5 .5-2(b )(7).

       155. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State ofIndiana.suffered actual damages and therefore

is entitled to multiple damages under the Indiana False Claims and Whistleblower

Protection Act, to be determined at trial, plus a civil penalty for each violation.

                       COUNT THIRTY-SEVEN
              VIOLATION OF THE IOWA FALSE CLAIMS ACT
                        IOWA CODE § 68S.2(1)(a)

       156. Relator 'incorporates by reference the allegations set forth         In   the

foregoing paragraphs as though fully set forth herein.

       157. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Iowa false or

fraudulent claims for payment or approval in violation ofIowa Code §685.2(l)(a).

       158. By virtue of the false or fraudulent claims submitted or caused to be
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submitted by Defendants, the State ofIowa suffered actual damages and therefore is

entitled to multiple damages under the Iowa False Claims Act, to be determined at

trial, plus a civil penalty for each violation.

                        COUNT THIRTY-EIGHT            /
               VIOLATION OF THE IOWA FALSE CLAIMS ACT
                         IOWA CODE § 685.2(1)(b)

        159. Relator incorporates by reference the allegations set forth       In   the

foregoing paragraphs as though fully set forth herein.

        160. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Iowa in violation of

Iowa Code §685.2(1)(b).

        161. By' virtue of the false or fraudulent :claims submitted or caused to be

submitted by Defendants, the State ofIowa suffered actual damages and therefore is

entitled to multiple damages under' the Iowa False Claims Act, to be determined at

. trial, plus a civil penalty for each violation.

                         COUNT THIRTY-NINE
               VIOLATION OF THE lOW A FALSE CLAIMS ACT
                         IOWACODE§ 685.2(1)(c)

        162. Relator incorporates by reference the allegations set forth       In   the

foregoing paragraphs as though fully set forth ,herein.

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      , 163. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Iowa False Claims Act in

violation ofIowa Code §685.2(1)(c).

       164. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Iowa suffered actual damages and therefore is

entitled to multiple damages under the Iowa False Claims Act, to be determined at

trial, plus a civil penalty for each violation.

                           COUNT FORTY
        VIOLA TION OF THE LOUISIANA MEDICAL ASSlSTANCE
                   PROGRAMS INTEGRITY LAW
                     LA. STAT. ANN. § 46:438.3(A)

       165. Relator incorporates' by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

       166. As set forth above, from aneast 2016 through the present, Defendants

knowingly presented or caused to be presented to the State 0 f Louisiana false or

fraudulent claims for payment or approval m violation of La. Stat. Ann.

§46:438.3(A).

       167. By virtue of the false or fraudulent claims submitted or caused to be

submitted   ~y   Defendants, the State of Louisiana suffered actual damages and

therefore is entitled to multiple damages under the Louisiana Medical Assistance

Programs Integrity Law, to be determined at trial, plus a civil penalty for each
                                     47
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violation.

                      COUNT FORTY-ONE
        VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE
                  PROGRAMS INTEGRITY LAW
                    LA. STAT. ANN. § 46:438.3(B)

       168. Relator incorporates by reference the allegations set forth           In   the

foregoing paragraphs as though fully set forth herein.

       169. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a fals'e or fraudulent claim submitted to the State of Louisiana in violation

of La. Stat. Ann. §46:438.3(B).

       170. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Louisiana suffered actual damages and

therefore is entitled to multiple damages under the Louisiana Medical Assistance

Programs Integrity Law, to be determined at trial, plus a civil penalty for e~ch

violation.

                      COUNT FORTY-TWO
        VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE
                  PROGRAMS INTEGRITY LAW
                    LA. STAT. ANN; § 46:438.3(D)

       171. Relator incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein.

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       172. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to comqlit violations of the Louisiana Medical

Assistance Programs Integrity Law in violation of La. Stat. Ann. §46:438,.3(D).

       173. By virtue of the false or fraudulent claims submitted or caused to be

submitted' by Defendants; the State of Louisiana suffered actual damages and

therefore is entitled to multiple damages under the Louisiana Medical Assistance

Programs Integrity Law, to be det,ermined at trial, plus a civil penalty for each

violation.

                      COUNT FORTY-THREE
        VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE
                  PROGRAMS INTEGRITY LAW
                          LA. STAT. ANN.   § 46:438.2(A)

       174. Relator incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein.

       175. As set forth above, from at least 2016 through the present, Defendants

knowingly solicited, received, offered, and paid remuneration in return for

purchasing ;ind ordering goods for which payment may be made under Louisiana's

Medical Assistance Program in viol.ation of La. Stat. § 46:438.2(A).

       176. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Louisiana suffered actual damages and

therefore is entitled to multiple damages under the Louisiana Medical Assistance
                                        49
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Programs Integrity Law, to be determined at trial, 'plus a civil penalty for each

violation.

                      COUNT FORTY-FOUR
         VIOLATION OF THE MARYLAND FALSE CLAIMS ACT
              MD. CODE ANN., Health - Gen., § 2-602(a)(1)

       177. Relator incorporates by reference the allegations set forth    III   the

foregoing paragraphs as though fully set forth herein.

       178. As set forth above, from at least 2016 through the present,Defendants

knowingly presented or caused to be presented to the State of Maryland false or

fraudulent claims for payment or approval in violation of MD. Code Ann., Health -

Gen., §2-702(a)(l).

       179. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the      Stat~   of Maryland suffered actual damages and

therefore is entitled to multiple damages under the Maryland False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                       COUNT FORTY-FIVE
         VIOLATION OF THE MARYLAND FALSE CLAIMS ACT
              MD. CODE ANN., Health - Gen., § 2-602(a)(2)

       180. Relator incorporates by reference the allegations set forth    III   the

foregoing paragraphs as though fully set, forth herein.

       181. As set forth above, from at least 2016 through the present, Defendants

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· knowingly made, used, or caused to be made or used false records or statements

 materiarto a false or fraudulent claim submitted to the State of Maryland in violation

 of MD. Code Ann., Health - Gen., §2-602(a)(2).

        182. By virtue of the false or fraudulent claims submitted or caused to be

 submitted by Defendants, the State of Maryland suffered actual damages and

 therefore is entitled to multiple damages under the Maryland False Claims Act, to

 be determined at trial, plus acivil penalty for each violation.

                        COUNT FORTY-SIX
          VIOLATION OF THE MARYLAND FALSE CLAIMS ACT
               MD. CODE ANN., Health - Gen., § 2-602(a)(3)

        183. Relator incorporates by reference the allegations set forth        10   the

 foregoing paragraphs as though fully set forth herein.

       ·184. As set forth above, from at least 2016 through the present, Defendants

 knowingly conspired together to commit violations of the Maryland False Claims

 Act in violation ofMD Code Ann., Health         Gen., §2-601(a)(3).

        185. By virtue of the false or fraudulent claims submitted or caused to be

 submitted by Defendants, the State of Maryland suffered actual damages and

 therefore is entitled to multiple damages under the Maryland False Claims Act, to

 be determined at trial, plus a civil penalty.for each violation.




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                    COUNT FORTY-SEVEN
     VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT
                MASS. GEN. LAWS, ch. 12, § SB(a)(l)

       186. Relator incorporates by reference the allegations set forth    10   the

foregoing paragraphs as though fully set forth herein'.,

       187. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the Commonwealth of

Massachusetts false or fraudulent claims for payment or approval in violation of

Mass. Gen. Laws, ch. 12, §5B(a)(1).

       188. By virtue of the false or fraudulent claims submitted or caused to be
                                           .      .
submitted by Defendants, the Commonwealth of Maryland suffered actual damages

and therefore is entitled tomultiple damages under the Massachusetts False Claims

Act, to be de~ermined at trial, plus a civil penalty for each violation.

                    COUNT FORTY..:EIGHT
     VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT
                MASS. GEN. LAWS, ch. 12, § SB(a)(2)

       189. Relator incorporates by reference the allegations set forth    10   the

foregoing paragraphs as though fuilyset forth herein.

       190. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the Commonwealth of

                                           52
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Massachusetts in violation ofMass. Gen. Laws, ch. 12, §5B(a)(2).

       191. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the Commonwealth of Massachusetts suffered actual

damages and therefore is entitled to multiple damages under the Massachusetts False

Claims Act, to be determined at trial, plus a civil penalty for each violation.

                    COUNT FORTY-NINE
     VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT
                        MASS. GEN. LAWS, ch. 12, § SB(a)(3)

       192. Relator incorporates by reference the allegations set forth           III   the

foregoing paragraphs as though fully set forth herein.

       193. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to      com~it     violations of the Massachusetts False

Claims Act in violation of Mass. Gen. Laws, ch. 12, §5B(a)(3).

       194. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the COl:nmonwealth suffered actual damages and therefore

is entitled to multiple damages under the Massachusetts False Claims Act, to be

determined at trial, plus a civil penalty for each violation.

                       COUNT FIFTY
   VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
                          MICH. COMPo LAWS§ 400.607(1)

       195. Relator incorporates by reference the allegations set forth           III   the

                                           53
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foregoing paragraphs as though fully set forth herein.

       196. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Michigan false or

fraudulent claims for payment or approval in violation of Mich. Compo Laws

§400.607(l).

       197 .By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Michigan suffered actual damages and

therefore is entitled to multiple damages under the Michigan Medicaid False Claims

Act, to be determined at trial, plus a civi,l penalty for each violation.

                     COUNT FIFTY -ONE
   VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
                 MICH. COMPo LAWS § 400.607(2)

       198. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

       199. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Michigan in violation

of Mich. Compo Laws §400.607(2).

      200 .. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Michigan suffered actual damages and

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therefore is entitled to multiple damages under the Michigan Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                     COUNT FIFTY-TWO
   VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
                 MICH. COMPo LAWS § 400.606(1)

      201. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      202. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Michigan Medicaid False

Claims Act in violation of Mich. Compo Laws §400.606(1).

      203 .. By virtue of the false or fraudulent Claims submitted or caused to be

submitted by   D~fendants,    the State of Michigan suffered actual damages and

therefore is entitled to multiple damages under the Michigan Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                    COUNT FIFTY-THREE
   VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT
                  MICH. CO~P. LAWS § 400.604

      204. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.     .

      205. As set forth.above, from at least 2016 through the present, Defendants

knowingly solicited, offered, and/or received kickbacks or bribes in connection with

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the furnishing of goods for which payment may be made by the State of Michigan

in violation of Mich. Compo Laws §400.604.

      206. By virtue of the false or fraudulent claims'submitted or caused to be

submitted by Defendants, the State of Michigan suffered actual damages and

therefore is entitled to multiple dama~es under the Michigan Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                       COUNT FIFTY-FOUR
         VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
                     MINN. STAT. § lSC.02(a)(1)

      207. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      208. As set forth above, from at least 2016 through the present, Defendants

knowingly presented 9r caused to be presented to the State of Minnesota false or

fraudulent claims for payment or approval in violation of Minn. Stat. § 15C.02(a)(1).

      209. By virtue of the     f~lse   or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Minnesota suffered actual damages and

therefore is entitled to multiple damages under the Minnesota False Claims Act, to

be d.etermined at trial, plus a civil penalty for each violation.




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                       COUNT FIFTY-FIVE
         VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
                     MINN. STAT. § 15C.02(a)(2)

      210. Relator incorporates by reference the allegations set forth     In   the

foregoing paragraphs as though fully set forth herein.

      211. As set forth above, from at least 2016 through the. present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Minnesota in

violation of Minn. Stat. §15C.02(a)(2).

      212. By virtue of th~ false or fraudulent claims submitted or caused to be

.submitted by Defendants; the State of Minnesota suffered actual damages and

therefore is entitled to multiple damages under the Minnesota False Claims Act, to
                                                ,
be determined at trial, plus a civil penalty for each violation.

                       COUNT FIFTY -SIX
         VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
                     MINN. STAT. § 15C.02(a)(3)

      213. Relator incorporates by reference the allegations set forth     In   the

foregoing paragraphs as though fully set forth herein.

      214. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Minnesota False Claims

Act in violation of Minn. Stat. §15C.02(a)(3).

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      215. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Minnesota suffered actual damages and

therefore is entitled to multiple damages under the Minnesota False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                         COUNT FIFTY -SEVEN
             VIOLATION OF THE MONTANA FALSE CLAIMS ACT
                     MONT. CODE ANN. § 17-8-403(1)(a)

      216. Relator incorporates by reference the allegations set forth       III   the

foregoing paragraphs as though fully set forth herein.

      217. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Montana false or

fraudulent claims for payment or approval in violation of Mont. Code Ann. § 17 -8-

403(l)(a).

      218. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Montana suffered actual damages and

therefore is entitled to multiple damages U11der the Montana False Claims Ac~, to be

determined at trial, plus a civil penalty for each violation .

                        . COUNT FIFTY-EIGHT
             VIOLATION OF THE MONTANA FALSE CLAIMS ACT
                     MONT. CODE ANN. § 17-8-403(1)(b)

      219. Relator incorporates by reference the allegations set forth       III   the

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foregoing paragraphs as though fully set, forth herein.

      220. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Montana in violation

of Mont. Code. Ann. §17-8-403(1)(b).

      221. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Montana suffered actual damages and

therefore is entitled to multiple damages under the Montana False Claims Act, to be

determined at trial, plus a civil penalty for each violation.

                         COUNT FIFTY-NINE
            VIOLATION OF THE MONTANA FALSE CLAIMS ACT
                    MONT. CODE ANN. § 17-8-403(1)(c)

      222. Relator incorporates by reference the allegations set forth         III   the

foregoing paragraphs as though fully set forth herein.

      223. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Montana False Claims Act

in violation of Mont. Code Ann. § 17-8-403( 1)(c) .

      .224. By virtue of the false or ·fraudulent claims submitted or caused to be

submitted by Defendants, the State of Montana suffered actual damages and
                                          ,                                      '



therefore is entitled to mUltiple damages under the Montana False Claims Act, to be


        )                                  59
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determined at trial, plus a civil penalty for each violation.

                             COUNT SIXTY
             VIOLATION OF THE NEVADA FALSE CLAIMS ACT
                      NEV. REV. STAT. § 3S7.040(1)(a)

       225. Relator incorporates by reference the allegations set forth     In   the

 foregoing paragraphs as though fully set forth herein.

       226. As set forth above, from at least 2016 through the present, Defendants

. knowingly presented or caused to be presented to the State of Nevada false or

 fraudulent claims for payment or approval in violation of. Nev. Rev. Stat.

 §357 .040( 1)(a).

       227. By virtue of the false or fraudulent claims submitted or caused to 'be

submitted by Defendants, the State of Nevada suffered actual damages and therefore

is entitled to multiple damages under the Nevada False Claims Act, to be determined

at trial, plus a civil penalty for each violation.

                         COUNT SIXTY-ONE
             VIOLATION OF THE NEVADA FALSE CLAIMS ACT
                     NEV. REV. StAT. § 3S7.040(1)(b)

       228. Relator incorporates by reference the allegations set forth
                                          <                                 In   the

foregoing paragraphs as though fully set forth herein.

       229. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

                                              60
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material to a false or fraudulent claim submitted to the State of Nevada in violation

of Nev. Rev. Stat. §357.040(1)(b).

       230. By virtue of the false or fraudulent claims submitted or caused to be

submitted bypefendants, the State of Nevada suffered actual damages and therefore

is entitled to multiple damages under the Nevada False Claims Act, to be determined

at trial, plus a civil penalty for each violation.

                        COUNT SIXTY-TWO
            VIOLATION OF THE NEVADA FALSE CLAIMS ACT
                     NEV. REV. STAT. § 357.040(1)(i)

       231. Relator incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein.

       232. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations o!the Nevada False Claims Act

in violation of Nev. Rev. Stat. §357.040(1)(i).

       233. By virtue of the false'or fraudulent claims submitted or caused to be

submitted by Defendants; the State of Nevada suffered actual damages and therefore

is entitled to muhiple damages under the Nevada False Claims Act, to be determined

at trial, plus a civil penalty for each violation.




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                     COUNT SIXTY-THREE
     VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
               N.H. REV. STAT. ANN. § 167:61-b(I)(a)

      234. Relator incorporates by reference the allegations set forth m the
           ,
foregoing paragraphs as though fully set forth herein.

      235. As set forth above, from at least 2016 through the present, Defendants

knowingly presented
           .,       or caused to be presented to the State of New Hampshire false

or fraudulent claims for payment or approval in violation of N.H. Rev. Stat. Ann.

§ 167:61-b(I)(a).

      236. By virtue of the false or fraudulent claims submitted or caused, to be

submitted'by Defendants, the State of New Hampshire suffered actual damages and

therefore is entitled to multiple damage's under the New Hampshire False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                     COUNT SIXTY-FOUR
     VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
               N.H. REV. STAT. ANN. § 167:61-b(I)(b)

      237. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      238. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of New Hampshire in

                                           62
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violation of N.H. Rev. Stat. Ann. §167:61-b(I)(b).

      239. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New Hampshire suffered actual damages and

therefore is entitled to multiple damages under the New Hampshire False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                      COUNT SIXTY-FIVE
     VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
               N.H. REV., STAT. ANN. § 167:61-b(I)(c)

      240. Relator incorporates by reference the allegations set forth     In   the

foregoing paragraphs as though fully set forth herein.

      241. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the New Hampshire False

Claims Act in violation of N.H. Rev. Stat. Ann. § 167:61-b(I)(c).

      242. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New Hampshire suffered actual damages and

therefore is· entitled to multiple damages under the New Hampshire False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                        COUNT SIXTY -SIX
        VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT
                   N.J. STAT. ANN. § 2A:32C-3(a)

      243. Relator incorporates by reference the allegations set forth     In   the

                                         .63
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f?regoing paragraphs as though fully set forth herein.

         244. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of New Jersey false or

fraudulent claims for payment or approval in violation ofNJ. Stat. Ann. §2A:32C-

3(a).

         245. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New Jersey suffered actual damages and

therefore is entitled to multiple damages under the New Jersey False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                        COUNT SIXTY-SEVEN
           VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT
                      N.J. STAT. ANN. § 2A:32C-3(b)

         246. Relator incorporates by reference the allegations set forth    III   the
                                                                                         r
.foregoing paragraphs as though fully set forth herein.

         247. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of New Jersey in

violation ofN.J. Stat. Ann. §2A:32C-3(b).

         248. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New Jersey suffered actual damages and

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therefore is entitled to multiple damages under the New Jersey False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                        COUNT SIXTY-EIGHT
         VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT
                    . N.J. STAT. ANN. § 2A:32C-3(c)

       249. Relator incorporates by reference the allegations set forth     III   the

. foregoing paragraphs as though fully set forth herein.

       250. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the New Jersey False Claims

Act in violation of N.J. Stat. Ann. §2A:32C-3(c).

       251. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New Jersey suffered actual damages and

therefore is entitled to multiple damages under the New Jersey False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                      COUNT SIXTY-NINE
  VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT
                   N.M. STAT. ANN. § 27-14-4(A)

       252. Relator incorporates by reference the allegations set forth     III   the

foregoing paragraphs as though fully set forth herein.

       253. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of New Mexico false or

                                           65
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fraudulent claims for paymen.t or approval in violation ofN.M. Stat. Ann. §27-14-

4(A).

        254. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New Mexico suffered actual damages and

therefore is entitled to multiple damages under the New Mexico Medicaid False

Claims Act, to be determined at trial, plus a civil penalty for each violation.

                      COUNT SEVENTY
 VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT
                  N.M. STAT~ ANN. § 27-14-4(C)

        255. Relator incoIporates by reference the allegations set forth          In   the

foregoing paragraphs as though fully set forth herein.

        256. As set forth above, from at least 2016 through the present, Defendants
                                                                      ,
knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of New Mexico in

violation ofN.M. Stat. Ann. §27-14-4(C).

        257. By virtue of the false or fraudulent   cl~ims   submitted or caused to be

submitted by Defendants, the State of New Mexico suffered actual damages and

therefore is entitled to multiple damages under the New Mexico Medicaid False

Claims Act, to be determined at trial, plus a civil penalty for each violation.




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                   COUNT SEVENTY-ONE
 VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT
                  N.M. STAT. ANN. § 27.:.14-4(D)

      258. Rehitor incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein. ,

      259. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to ~ommit violations of the New Mexico Medicaid

False Claims Act in violation ofN:M. Stat Ann. §27-14-4(D).

      260. By virt~e of the false 0r fraudulent claims submitted or caused to be
                                    4




submitted by Defendants, the State of New Mexico suffered actual damages and

therefore is entitled to multiple damages under the New Mexko. Medic!;lid False

Claims Act, to be determined at trial,plus a civil penalty for each violation. ,

                     COUNT SEVENTY-TWO
         VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
                   N.Y. STATE ~IN. LAW. § 189(1)(a)

      26.1. Relator incorporates by reference the allegations set forth m the

foregoing paragraph~. as though fully set forth herein.

    , 262. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to. be presented to. the State o.f New Yo.rk false o.r

fraudulent claims 'for' payment or approval.in violation of N.Y. State Fin. Law

§189(1)(a).

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      263. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New York suffered actual damages and

therefore .is entitled to multiple damages under the New York False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                     COUNT SEVENTY-THREE
          VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
                    N.Y. STATE FIN. LAW § 189(l)(b)

      264. Relator incorporates by reference the allegations set forth          10   the

foregoing paragraphs as though fully set forth herein.

      265. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statenients

material to a false or fraudulent claim submitted to the State of New York in violation

of N.Y. State Fin. Law §189(1)(b).

      266. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New York' suffered actual damages and

therefore is entitled to multiple damages under the New York False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                      COUNT SEVENTY-FOUR
          VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
                    N.Y. STATE FIN. LAW § 189(1)(c)

      267. Relator incorporates by reference the allegations set forth          10   the

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foregoing paragraphs as though fully set forth herein.

      268. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit yiolations of the New York False Claims

Act in violation of N.Y. State Fin. Law §189(1)(c).

      269. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of New York suffered actual damages and

therefore is entitled to multiple damages under the New York False Claims Act, to

be determined at trial, plus a- civil penalty for each violation.

                    COUNT SEVENTY-FIVE
     VIOLATION OF THE NORTH CAROLINA FALSE CLAIMS ACT
                   N.C. GEN. STAT. § 1-607(a)(I)

       270. Relator incorporates by reference the allegations set forth      10   the.

foregoing paragraphs as though fully set forth herein.

      271. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of North Carolina false

or fraudulent claims for payment or approval in violation of N.C. Gen. Stat. § 1-

607(a)(1) ..

       272. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of North Carolina suffered actual damages and

therefore is entitled to multiple damages under the North Carolina False Claims Act,

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 to be determined at trial, plus a civil penalty for each violation.

                      COUNT SEVENTY-SIX
      VIOLATION OF THE NORTH CAROLINA FALSE CLAIMS ACT
                    N.C. GEN. STAT. § 1-607(a)(2)

        273.. Relator incorporates by reference the allegations set forth     In   the

 foregoing paragraphs as though fully set forth herein.

        274. As set forth above, from atleast 2016 through the present, Defendants

 knowingly made, used, or caused to be made or used false records or statemerits

 material to a false or fraudulent claim submitted to the State of North Carolina in

'. violation of N.C. Gen. Stat. §1-607(a)(I).

        275. By virtue of the false or fraudulent claims submitted or caused to be

 submitted by Defendants, the State of North Carolina suffered actual damages and

 therefore is entitled to multiple damages under the North Carolina False Claims Act,

 to be determined at trial, plus a civil penalty for each violation.

                    COUNT SEVENTY-SEVEN
      VIOLATION OF THE NORTH CAROLINA FALSE CLAIMS ACT
                    N.C. GEN. STAT. § 1-607(a)(3)

        276. Relator incorporates by reference the allegations set forth      In   the

 foregoing paragraphs as thoug;h fully set forth herein.

        277. As set forth above, from at least 2016 through the present, Defendants
                                        .                                 .
 knowingly conspired together to commit violations of the North Carolina False

                                            70
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Claims Act in violation ofN.C. Gen. Stat. §1-607(a)(1).

      278. By virtue of the false or fraudulent claims submitted or- caused to be
                          -                            -   -
                              -   ,                -

submitted by Defendants, the State of North Carolinasuffered actual damages and

therefore is entitled to multiple damages under the North Carolina False Claims Act,

to be determined at trial, plus a civil penalty _for each violation.

                 - COUNT SEVENTY-EIGHT
, VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT
                   63 OKLA. STAT. § 5053.1B(1)

      279. Relator incorporates by reference the allegations set forth       In   the

foregoing paragraphs as though fully set forth ~erein.

      280 .• As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presepted to the State of Oklahoma false or

fraudulent claims for payment or approval in violation of63 Okla. Stat. §5053.lB(1).

       281. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants" the State of Oklahoma suffered actual damages and

therefore is entitled to multiple damages under the Oklahoma Medicaid False Claims

Act, to be determined at trial, -plus a civil penalty for each violation.

                   COUNT SEVENTY-NINE
  VIOLATION,OF THE OKLAHOMA MEDicAID FALSE CLAIMS ACT
                  63 OKLA. STAT. § 5053.1B(2)

       282. ,Relator incorporates by reference the allegations set forth in the

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foregoing paragraphs as though fully set forth herein.

      283. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Oklahoma in

violation of 63 Okla. Stat. §5053.1B(2).

      284. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Oklahoma suffered actual damages and

therefore is entitled to multiple damages under the Oklahoma Medicaid False Claims

Act, to be'determined at trial, plus a civil penalty for each violation.

                      COUNT EIGHTY
  VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT
                  63 OKLA. STAT. § 5053.1B(3)

      285. Relator incorporates by reference the allegations set forth in the

foregoing paragraphs as   t~ough   fully set forth herein.
                                          ".

      286. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Oklahoma Medicaid False

Claims Act in violation of 63 Okla. Stat. §5053.1B(3).

      287. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Oklahoma suffered actual damages and

therefore is entitled to multiple damages under the Oklahoma Medicaid False Claims

                                               72.
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Act, to be determined at trial, plus a civil penalty for each violation.

                       COUNT EIGHTY-ONE
        VIOLATION OF THE RHODE ISLAND FALSE CLAIMS ACT
                    R.I. GEN. LAWS § 9-1.1-3(a)(1)

       288. Relator incorporates by reference the allegations set forth     III   the

foregoing paragraphs as though fully set forth herein.

       289. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Rhode Island false or

fraudulent claims for payment or approval in violation of R.1. Gen. Laws '§9-1.1-

3(a)(1).

       290. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the· State of Rhode Island suffered actual damages and

therefore is entitled to; multiple damages under the Rhode Island False Claims Act,

. to be determined at trial,'plus a civil penalty for each violation.

                      COUNT EIGHTY-TWO
        VIOLATION OF THE RHODE ISLAND FALSE CLAI'MS ACT
                    R.I. GEN. LAWS § 9-1.1-3(a)(2)

       291. Relator incorporates by reference' the allegations set forth    III   the

foregoing paragraphs as though fully set forth herein.

       292. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

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material to a false or fraudulent claim submitted to the State of Rhode Island in

violation ofR.I. Gen. Laws §9-1.1-3(a)(2).

      293. By virtue of the false .or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Rhode Island suffered actual damages and

therefore is entitled to multiple damages under the Rhode Island False Claims Act,

to be determined at trial, plus a civil penalty for each violation.

                     COUNT EIGHTY-THREE
       VIOLATION OF THE RHODE ISLAND FALSE CLAIMS ACT
                   R.I. GEN. LAWS § 9-1.1-3(a)(3)

      294. Relator incorporates by reference the allegations set forth     In   the

~oregoin~   paragraphs as though fully set forth herein.

      295. As set forth above, from at least 201.6 through the present, Defendants

knowingly conspired together to commit violations of the Rhode Island False Claims

Act in violation ofR.I. Gen. Laws §9-1.1-3(a)(3).

      296. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Rhode Island suffered actual damages and

therefore is entitled to multiple damages under the Rhode Island False Claims Act,

to be determined at trial, plus a civil penalty for each violation.




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                     COUNT EIGHTY-FOUR
         VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT
                  TENN. CODE ANN. § 4-18-103(a)(I)

      297. Relator incorporates by reference the allegations set forth         III   the

foregoing paragraphs as though fully set forth herein.

      298. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Tennessee false or

fraudulent claims for payment or approval in violation of Tenn. Code Ann. §4-18-

103(a)(l).

      299. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Tennessee suffered actual damages and

therefore is entitled to multiple damages under the Tennessee False Claims Act, to

be determined at trial, plus ~ civil penalty for each violation.

                      COUNT EIGHTY -FIVE
         VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT
                  TENN. CODE ANN. § 4-18-103(a)(2)
                                            .'
     . 300. Relator    incorporat~s   by reference the allegations set forth   III   the

foregoing paragraphs as though fully set forth herein.

      301. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent Claim submitted to the State of Tennessee in

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violation of Tenn. Code Ann. §4-18-103(a)(2).

      302. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Tennessee suffered actual damages and

therefore is entitled to multiple damages under the Tennessee False Claims Act, to

be determined at trial, plus a civil penalty for each violation.

                          COUNT EIGHTY-SIX
            VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT·
                     TENN. CODE ANN. § 4-18-103(a)(3)


      303. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      304. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Tennessee False Claims

Act in violation of Tenn. Code Ann. §4-18-103(a)(3).

      305. By virtue of the false or fraudulent. claims submitted or caused to be

submitted by Defendants, the State of Tennessee suffered actual damages and

therefore is entitled to multiple damages under the Tennessee False Claims Act, to

be determined at trial, plus a civil penalty for each violation .

        •   .?     COUNT EIGHTY-SEVEN
  VIOLATION OF THE TENNESSEE MEDICAID FALSE CLAIMS ACT
               TENN. CODE ANN. § 71-5-182(a)(I)(A)


      306. Relator incorporates by reference the allegations set forth m the

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foregoing paragraphs as though fully set forth herein.

      307. As set forth above, from a,t least 2016 through the present, Defendants

knowingly presented or c.aused to be presented to the State of Tennessee false or

fraudulent claims for payment or approval in violation of Tenn. Code Ann. §71-5-

182(a)(1 )(A).

      308. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Tennessee suffered actUal damages and

therefore is entitled to multiple damages under the Tennessee Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                    COUNT EIGHTY-EIGHT
  VIOLATION OF THE TENNESSEE MEDICAID FALSE CLAIMS ACT
              . TENN. CODE ANN. § 71-5-182(a)(l)(B)

      309. Relator incorporates by reference the allegations set forth         In   the

foregoing paragraphs as though fully set forth herein.

      310. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false or fraudulent claim submitted 'to the State of Tennessee in

violation of Tenn. Code Ann.§71-5-182(a)(l )(B).

      311. By virtue of the     fal~e   or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Tennessee suffered actual damages and

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therefore is entitled to multiple damages under the Tennessee Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                    COUNT EIGHTY.:.NINE
  VIOLATION OF THE TENNESSEE MEDICAID FALSE CLAIMS ACT
               TENN. CODE ANN. § 71-5-182(a)(I)(C)

      312. Relator tncorporates by reference the allegations set forth      III   the

foregoing paragraphs as though fully set forth herein.

      3 13. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Tennessee Medicaid False

Claims Act in violation of Tenn. Code Ann. §71-5-182(a)(l)(C).
                   ,              :



      314. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Tennessee suffered actual damages and

therefore is entitl~d to multiple damages under the Tennessee Medicaid False Claims

Act, to be determined at trial, plus a civil penalty for each violation.

                       COUNT NINETY
 VIOLATION OF THE TEXAS MEDICAID FRAUD PREVENTION LAW
                TEX. HUM. REs. CODE § 36.002(1)

      315. Relator incorporates by reference the allegations set forth      III   the

foregoing paragraphs as though fully set forth herein.

      316. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Texas false or

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fraudulent claims for payment or approval in violation of Tex. Hum. Res. Code

§36.002(l ).

      317. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Texas suffered actual damages and therefore

is entitled to multiple damages under the Texas Medicaid Fraud Prevention Law, to

be determined at trial, plus a civil penalty for each violation.

                     COUNT NINETY-ONE
 VIOLATION OF THE TEXAS MEDICAID FRAUD PREVENTION LAW
               TEX~ HUM. REs. CODE § 36.002(4)(A)


      318. Relator incorporates by reference the allegations set forth          In   the

foregoing paragraphs as though fully set forth herein.

      319. As set forth above, from at least 2016 through the present, Defendants

knowing'ly made, used,' or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the State of Texas in violation of

Tex. Hum. Res. Code §36.002(4)(A).

      320. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Texas suffered actual damages and therefore

is entitled to multiple damages   und~r the   Texas M.edicaid Fraud Prevention Law, to

be determined at trial, plus a civil penalty for each violation.




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                    COUNT NINETY-TWO
 VIOLATION OF THE TEXAS MEDICAID FRAUD PREVENTION LAW
                TEX. HUM. RES. CODE § 36.002(9)


      321. Relator incorporates by reference the allegations set forth         III   the

foregoing paragraphs as though fully set forth herein.

      322. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Texas Medicaid Fraud

Prevention Law in violation of Tex. Hum. Res. Code §36.002(9).

      323. By virtue of the false or fraudulent claims submitted or caused 'to be

submitted by Defendants; the State of Texas suffered actual damages and therefore

is entitled to multiple damages under the Texas Medicaid Fraud Prevention Law, to

be determined at tHaI, plus a civil penalty for each violation.

                     COUNT NINETY-THREE
          VIOLATION OF THE VERMONT FALSE CLAIMS ACT
                    32 VT. STAT. ANN. § 631(a)(1)

      324. Rel~tor incorporates by reference the allegations set forth in the

foregoing paragraphs as though fully set forth herein.

      325. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Vermont false or

fraudulent claims for payment or approval in violation of Vt. Stat. Ann. §631 (a)( 1).

      326. By virtue of the false or fraudulent claims submitted or caused 'to be

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 submitted by Defendants, the State of Vermont suffered actual damages and

 therefore is entitled to multiple damages under the Vermont False Claims Act, to be '

 determined at trial, plus a civil penalty for each violation.

                        COUNT NINETY":FOUR
           VIOLATION OF THE VERMONT FALSE CLAIMS ACT
                      32 VT. STAT. ANN. §"631(a)(2)

       327. Relator incorporates by reference the allegations set forth         10   the

 foregoing paragraphs as though fully set forth herein.

       328. As set forth above, from at least 2016 through the present, Defendants

 knowingly made, used, or caused to be made or used false records or statements

 material to a false or fraudulent claim submitted to the State of Vermont in violation

 ofVt. Stat. Ann. §631(a)(2).

       329. By virtue of the false or fraudulent claims submitted or caused to be

 submitted by Defendants, the State of Vermont suffered actual damages and

 therefore is entitled to multiple damages under the Vermont False Claims Act, to be

 determined at trial, plus a civil penalty for each violation.

                        COUNT NINETY-FIVE
           VIOLATION OF THE VERMONT FALSE CLAIMS ACT
                     32 VT. STAT. ANN. § 631(a)(12)

       330. Relator incorporates by reference the allegations set forth         10   the

. foregoing paragraphs as though fully set forth herein.

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       331. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Vermont False Claims Act

in violation ofVt. Stat. Ann. §631(a)(12).

       332. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Vermont suffered actual damages and

therefore is entitled to multiple damages under the Vermont False Claims Act, to be

determined at trial, plus a civil penaltY for each violation.

                     COUNT NINETY-SIX
 VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT
                VA. CODE ANN. § 8.01-216.3(A)(1)


       333. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

       334. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the Commonwealth of Virginia

false or fraudulent claims for payment or approval in violation of Va. Code Ann.

§8.0 1-216.3(A)(1).

       335. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the Commonwealth of Virginia suffered actual damages

a~d   therefore is entitled to multiple damages under the Virginia Fraud Against

Taxpayers Act, to be determined at trial, plus a civil penalty for each violation.

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                   COUNT NINETY -SEVEN
 VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT
                VA. CODE ANN. § 8.01-216.3(A)(2)


      336. Relator incorporates by reference the allegations set forth          In   the

foregoing paragraphs as though fully set forth herein.

      337. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used,' or caused to be made or used false records or statements

material to a false or fraudulent claim submitted to the Commonwealth of Virginia
                         ,
in violation of Va. Code Ann. §8.01-216.3(A)(2).

      338. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the. Commonwealth of Virginia suffered actual damages

and therefore is entitled to multiple damages under the Virginia Fraud Against

Taxpayers Act, to be determined at trial, plus a civil penalty for each violation.

                    COUNT NINETY-EIGHT
 VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT
                V A. CODE ANN. § 8.01-216.3(A)(3)

      339. Relator incorporates by reference the allegations set forth          In   the

foregoing paragraphs as though fully set forth herein.

      340. As set forth above, from at least 2016 through the present, Defendants

knowingly conspired together to commit violations of the Virginia Fraud Against

Taxpayers Act in violation ofVa. Code Ann .. §8.01-216.3(A)(3).

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      341. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the Commonwealth of Virginia suffered actual damages

and therefore is entitled to multiple damages under the Virginia Fraud Against

Taxpayers Act, to be determined ,at trial, plus a civil penalty for each violation.

                        COUNT NINETY-NINE
                VIOLATION OF THE WASHINGTON STATE
                 MEDICAID FRAUD FALSE CLAIMS ACT
                     WASH REV. CODE § 74.66.020(1)(a),

      342. Relator incorporates by reference the allegations set forth m the

foregoing paragraphs as though fully set forth herein.

      343. As set forth above, from at least 2016 through the present, Defendants

knowingly presented or caused to be presented to the State of Washington false or

fraudulent claims for payment or approval in violation of Wash. Rev. Code

§74.66.020(l)(a).

      344. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Washington suffered actual damages and

therefore is entitled to multiple damages under the Washington State Medicaid Fraud

False Claims Act, to be determined at trial, plus a civil penalty for each violation.

                  COUNT ONE-HUNDRED
VIOLATION OF THE WASHINGTON'MEDICAID FALSE CLAIMS ACT
               WASH. REV. CODE § 74.66.020(1 )(b)

      345. Relator incorporates by reference the allegations set forth m the
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foregoing paragraphs as though fully set forth herein.

      346. As set forth above, from at least 2016 through the present, Defendants

knowingly made, used, or caused to be made or used false records or statements

material to a false ·or fraudulent claim submitted to the State of Washington in

violation of Wash. Rev. Code §74.66.020(1)(b).

      347. By virtue of the false or fraudulent claims submitted or      cam~ed   to be

submitted by Defendants, the State of Washington suffered actual damages and

therefore is entitled to multiple damages under the Washington State Medicaid Fraud

False Claims Act, to be determined at trial, plus a civil penalty for each violation.

              COUNT ONE-HUNDRED-AND-ONE
VIOLATION OF THE WASHINGTON MEDICAID FALSE CLAIMS ACT
               WASH. REV. CODE § 74.66.020(1)(c)


      348. Relator incorporates by reference the allegations set forth          In   the

foregoing paragraphs as though fully set forth herein.

      349. As set forth above, from at least 2016 through the presen~, Defendants

knowingly conspired together to commit violations of the Washington State

Medicaid Fraud False Claims Act in violation of Wash. Rev. Code §74.66.020(1)(c).

      350. By virtue of the false or fraudulent claims submitted or caused to be

submitted by Defendants, the State of Washington suffered actual damages. and

therefore is entitled to muhipl~ damages under the Washington State Medicaid Fraud

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False Claims Act, to be determined at trial, plus a civil-penalty for each violation.

                             - PRAYER FOR RELIEF

      WHEREFORE, the Government and Relator demand that judgment be

entered against Defendants and in favor of the Relator and Government as follows:

      On Count One through Count One-Hundred-and-One under the federal False

Claims Act (and amended and equivalent state statutes), for the amount of the United

States' and States' damages, multiplied by three as required by law, and such civil

penalties as are permitted or required by law; the maximum share amount allowed

pursuant to 31 U.S.C. § 3730(d) and applicable state laws; all costs and expenses of

this action, including attorney fees, expenses and costs as permitted by 31 U.S.C. §

3 730( d) and applicable state laws; and all such other relief as may be just and proper.

                        REQUEST FOR TRIAL BY JURY

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby

demands a trial by jury.

Dated: June 7, 2019.              Respectfully submitted,


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